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Attorneys for Plaintiff Rosa M Williams-Hopkins


                                                         SUPERIOR COURT OF NEW JERSEY
ROSA M. WILLIAMS-HOPKINS, on behalfof                     LAW DIVISION: ESSEX COUNTY
hersel,f and those similarly situated,
                                                                      Civil Action
                       Plaintiff,
                                                              Docicct No. BSX-L-4624-21
               vs.
                                                                      SUMMONS
COLLECTION 'BUREAU OF THE HUDSON
VALLEY, INC.; and.JOHN DOE.S 1 to 10,

                      Defendants.



From The State of New Jersey To The Defendant(s) Named Above:

        The plaintiff,;named abo.ve; have filed a lawsuit.against you 'in the Superior Court of New
Jersey. The complaint attached to th"is summons states the basis for tliis lawsuit. If you d'ispute
this complaint, you or your attorney must file a written answer or motion and proof of service
with the deputy clerk of the Superior Court in the county listed above within 35 days from the
date you received this summons, not counting the date you i'eceived it. (A directory of the
addresses of each deputy clerk of the Superior Court is available in the Civil Division
Management Office in the county listed above and online at
http://www.judiciary.state.ni.us/prose/10153 deptyclerklawrefpdf.) Ifthe complaint is one in
foreclosure, then you must file your written answer or motion and proof of service with the Clerk
ofthe Superior Court, Hughes,Justice Complex, P.O. Box 971, Trenton, NJ 08625-0971, A filing
fee payable to the Treasurer, State of New Jersey and a completed Case Information Statement
(availablc from thc deputy cicrk of thc Superior Court) must accompany your answcr or motion
when it is filed. You.must also send a copy of your answer or motion to plaintiffs' attorneys
whose names and addresses appear above, or to plaintiffs, if no attorney is named above. A
teleptiune call will nut protect yuur rights; you must Gle and serve a wrillen answer ur motiun
(with fee of $175.00 and completed Case Information Statement) if you want the court to hear
your defense.


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        If you do not fiite and serve a written answer or motion within 35 days, the court may
enter a judgment  against you "for the relief plaintiffs demands, plus interest and costs of su.it. If.
judgment is entered against you, the Sheriff may seize your money,. wages or property to pay all
or part ofthe Judgment.

        If you cannot afford ari attorney, you may call the Legal Services off ce in the county
where you live or the Legal Services ot'New Jersey Statewide 1-lotline at 1-888-LSNJ-LAW (1-
888-576-5529). If you do not have an attorney and are not eligible for free legal assistance, you
may obtain a referral to an attorney by calling one of the Lawyer ReFerral Services. A directory
with contact information for local Legal Services Offices and Lawyer .Referral Services is
available in the Civil Division.Management Office in the;county listed above,and,online at
http://www.iudiciary.state.ni.us/prose/10153 deptyclerklawref.pdf.

                                                /s/Michelle M Smith
Dated: June 15, 2021                            Michelle M. Smith
                                                Clerk of the Superior Co.urt ofNew Jersey

Name of Defendant to be served:                          on Bureau of the Hudson Valley, Inc.

Address of Defendant to be served:
                                            C!t c/o Corpor'ation Service Company
                                                Princcton South Corporatc. Centcr, Suitc 160
                                                100'Charles Ewing Boulevard
                                                Ewing, New.Jersey 08628




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                                                              SUPERIOR COURT OF NEW JBRSEY
ROSA M. WILLIAMS-HOPKINS, on behalf of                         LAW DIVISION: ESSEX COUNTY
herself and those sim ilarly situated,,
                                                                        Civil Action
                       Plaintiff,
                                                                        Docket No.,
               vs.
                                                                CLASS ACTION COIVIPLAINT
                                                                   anil JURY DEMAND
COLLECTION BUREAU OF THE HUDSON
VALLEY, INC.; and JOHN DOES 1 to 10,

                       Defendants.



       Plaintiff Rosa M. Williams-Hopkins, iridividually -aiid on behalf of those similarly

situated, by way of Class Action Complaint against Defendant Collection, Bureau of the Hudson

Valley, Inc., and John Does 1 to 1.0, state:

                                         NATURE OF THE CASE

               This is a"putative-class action arising frorri Defendant, Collection Bureau of tlie

Hudson Valley, Inc.'s unlawful disclosure of private financial information to third parties

without the prior consent of the consumers.

       2.      The Fair Dcbl Cu1lecCivn Praclices Acl pruhibils lhe discl'osure uf infurmaliun i;o

third parties to prevent identity theft and invasions of privacy. As the National. Consuiner Law

Center put it eloquently:

       As the world has gone digital, consumers' records, both financial and otherwise,
       are iricreasingly v.ulnerable to exposure. Transactions that were once fleeting,
       recorded only o,n paper and filed in some cabinet, or perhaps reduced to


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    microfiche, are now but mouse-clicks.away from duplication and dissemination.

    Unregulated databases, escalating numbers of inergers, and the proliferation of
    information brokers—private,investigators who specialize in obtaining
    computerized records—all threaten privacy. As was noted in Congress,
    "databases of personal identifiable information are increasingly prime targets of
    hackers, identity thieves, rogue employees, and other criminals, including
    organized and sophisticated criminal operations."

    The int.ernet raises part.icu.lar privacy concerns,.as infnrmat.ion sent over t.he World
    Wide Web'rnay pass through dozeris of different'computer systeins, each of which
    can snatch and hold,the information in its coffers. In addition, website owners can
    track consumers' online behavior and gather information about their preferences,
    often without their kno.wledge. Web bugs, or tiny graphics that are put into web
    pages and e-mails, can monitor who views the information. Clickstream data can
    tell website owners which pages ofthe site were viewed and for how long.
    "Cookies" dropped onto a computer may not identify the user by name but do
    identify the particular computer, which allows an interested party to assemble a
    great deal of information about.that computer's user.

    Financial inforniat'ion is es.pecially.sensitive, able to reveal not just a consumer's
    standard of living and debt load, but also personal preferences and litestyle details.
    ranging from books bought to prescriptions purchased. In California Bankers
    Ass'n v. Shultz, Justice Powell pointed out that "[fJinancial transactions can reveal
    much about a person's activities, associations, and beliefs." Justice Douglas
    elaborated further:

    A checking account ...[mjay well record a citizen's activities, opinion, and
    beliefs as fully as transcripts of his telephone conversations ... In a sense a
    person is defined by the.checks he writes. By examining-them the agents get to
    know his doctors, lawyers, creditors, polit'ical allies, social connections, religious
    affiliation, educational interests, the papers and magazines he reads, and so on ad
    infinitum.

    The same can be said of credit card charges, debit purchases, and online
    transactions. Forty years later, the details of these revealing consumer activities
    are easily collected, compiled, analyzed, and accessed, and thus have created a
    lucrative market for their trade. One industry leader among data aggregation
    conipanies, Acxioni, advertises that ithas data on 2.5.billion consumers. Acxioin
    claims that on:e of its:products covering American consumers has data ori 250.
    million consumers; of-fering data not just on individual demographics, but also
    household characteristics, financial information, life events, major purchases, and
    behavior, all of which allows for targeted marketing. Experian_reports that it
    manages data on mo"re than 300 million consumers and 126 million households,
    while Equifax claims a database of over 115 million U.S. households distributed
    over 150 different segment, groups, which can be used to predict, behavior. In
    2017, Equifax suffered a data breach that involved the personal data on nearly


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        halfthe United.States population being stolen, a breach that a Congressional
        cominittee found to have been "entirely preventable." In 2014; the Federal Trade
        Commission`f led:a complaint against another data broker that allegedly bought
        the payday loan applications of consumers and then sold the information to
        marketers with no legitimate need for it, l,eading some scammers among them to
        debit millions from the consumers' accounts.

National Consumer Law Center, Fair Credit Reporting (9th ed: 2017) § 18.1, updated at

www.ncic.org/library. (fnot.notes nmitted and alterations in origina.l) (attached a.s F,x.lxihit A).

        3.      For example, in enacting the FDCPA, Congress found "abundant evidence of the

use of abusive, deceptive, and unfair debt collection practices by many debt collectors. Abusive

debt collection practices contribute to the number of personal bankruptcies, to marital instability,

to the loss of jobs, and to invasions of individual privacy. 15 U.S.C. § 1692(a). See also

Dozrglass u. C'onvergent Outsourcing, 765 F.3d 299, 303-04 (3d Cir. 2014) ("The disclosure of

[the consumer's] account number raises th.ese privacy concerns: '1'he account number is a core

piece of information pertaining to [the consumer's] status as a debtor and Convergent's debt

collection effort. Disclosed to. the public, it could. be used to expose her financial predicament.

Because Convergent's disclosure implicates core privacy concerns, it cannot be deemed

benign.").

        4.      Despite the Douglass ruling, Defendant continues to misuse and unlawfully

disclose private financial information about consumers to third-parties:

        5.      Defendant's disclosure of sensitive financial information to third parties'is an act

consistent with a course of conduct and practice which was either designed to, or had as its

natural consequence, an attempt to obtain money from consumers through the use of false,

misleading,.deceptive, abusive, unfair, unconscionable, and unlawful conduct prohibited by

common law and statutory law including; but not limited to, the Consumer Fraud Act ("CFA"),

N.J.S.A. 56:8-1, etseq., and the Fair Debt Collection.Practices Act,("FD.CPA"), 15 U.S.C. §§



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1692, et seq.

          6.     Defendant is subject to strict liability under the FDCPA for the prohibited

communication with third parties "without the prior consent.of the consumer given directly to the

debt collector ... in connection with the collection of [the] debt., with any person other than the

consumer.:..:" 15 U.S.C. ,§ 1692c(b) and for Violating 15 U:S.C. § 1692d(3).

          7.     Thus, Plaintiff br'ings'this class action for damages`againstDefendant arising from

Defendant's unlawful disclosure of sensitive and confidential personal identifying and financial

information, when attempting to collect debts from New Jersey consumers.

          8.     Defendant is,subject to strict liability under the FDCPA for communicating with

third parties "witho.at the prior consent ofthe consumer given directly to the debt collector ... in

connection with the collection of [the] debt, with any person othei- than the consumer ..,."

                                        JURISDICTION AND VENUE

          9.     "1'his Court has jurisdiction to entertain this matter pursuant to 15 U.S.C. §

1692k(d) and 28 U.S.C. § 1331.

          10:    Venue is proper in Essex County because Defendant regularly conducts business

there, including the collection of debts against New Jersey residents residing in Essex County.

                                                  PARTIES

          11.    Plaintiff; Rosa M. Williams-Hopkins ("Williams-Hopkins"), is a natural person.

          12.    At all times relevant to this lawsuit, Plaintiff was a.citizen of the State of New

Jersey.

          13.,   Defendant, .Collection Bureau of the- Hudson Valley, Inc. ("Defendant" or

"CBHV") is a collection agency with an office located at 155 North Plank Road, Newburgh,

New York, 12550.




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          14.   Defendants John Does 1 to 10 are-natural persons and7or.business entities all of

whom reside or are located within the United S"tates and personally created; instituted and, with

knowledge that.such practic.es were contrary to law, acted consistent with and oversaw policies.

and procedures used by the employees of Defendant that are the subject of this C.omplaint.: Those

defendants personally control the illegal acts, policies, and practices utilized by Defendant and,

therefore, ai•e personally liable for all of the wrongdoing alleged in this.Complaint. Those

fictitious names of individuals and businesses-alleged for the purpose of substituting names of

defendants whose identity will be disclosed in discover.y and sho.uld be made parties to this

action.

          15.   Some or all of John Does 1-10 set the policies and practices complained of herein.

          16.   Some or all:of John Does 1-10 were actively engaged in the practices complained

of herein.

          17.   In,this pleading, "Defendants" in the plural refers to all Defendants.

                                        FACTUAL ALLEGATIONS

A.        Allegations Regarding Defendant's Practices Generally

          18.   CBHV regularly collects or attempts to collect debts that are past due.

          19.   CBHV regularly collects or attempts to collect debts'allegedly owed to others.

which were incurred primarily for personal, family or household,purposes.

          20.   CBHV is `in the busitiess of collecting debts or alleged debts of natural persons

which arise from transactions which are primarily for personal, family, or household purposes..

          21.   The alleged receivables associated with the debts were assigned to CBHV for the

purpose of collection.

          22.   CBHV uses the mails, telephone, the internet and other instruinents of interstate

comrnerce in engaging in the business of collecting defaulted debts or alleged debts of natural


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persons which arise from transactions which are primarily for personal, family, or household

purposes.

       23.       CBHV is a collection agency.

B.     Plaintiff Willianis-Flopkins.

       24.       CBHV has asserted that Williams-Hopkins allegedly incurred or owed a certain

financial obligation arising out of a personal account.

       25.       The debt arose from one or more transactions which were primarily for Williams-

Hopkins's personal, family or household purposes.

       .26.      This, account was assigned to, CBHV for collection.

       27.       CBHV contends that the account is past due and in default.

       28.       The account was past due and in default at the time it was placed with or assigned

to CBHV for collection.

       29.       In an' attempt to collect the, Debt, CBHV rriailed a collection letter to Williams-

Hopkins on June 12, 2020 ("6/12/20 Letter")

       30.       A true copy ofthe 6/12/20 Letter, but with redactions, is attached as Exhibit B.

       31.       Williams-Hopkins received and reviewed the 6/12/20 Letter.

       32.       Upon information and belief, the 6/12/20 Letter was:mailed using a third-party

letter Vendor.

       33..      W illiams-Hopkins never provided consent to Defendant to communicate to third

parties regarding her delit.

       34.       By using a letter vendor, Defendant has reciclessly disclosed Williams-Hopkins's

personal id"entifying information and private information about her debt to a third party without

Williams-Hopkins's prior consent..




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        35.     Defendarit unlawfully disclosed information about Williams-Hopkins's debt

including the account numbers associated with th,e debt and the alleged balance due:

        36.      The FDCPA prohibits a debt collector.from communicating with third parties

"without the prior consent of the consumer given directly to the debt collector ... in connection

with the collection of any debt, with any person other than the consumer, his attorney, a

consumer reporting agency if otherwise permitted by law, the creditor, the attorrfey of the

creditor, or the attorney of the debt eollector :" I

        37.     The FDCPA also prohibits "[t]he publication of a list of consumers who allegedly

refuse to pay debts . . . ."2

        38.      Unlawfully communicating with a third parry 'letter vendor regarding Plaintiff s Debt

violates the FDCPA because it is impermissible communication under sections 1692c(b) and

1692d(3) which has the potent'ial to cause harm to. a consumer.3

        39.     CBHV used the same procedures it used in sending the 6/12/20 Letter'to Plaintiff

when sending the same and/or similar letters to numerous other New Jersey consumers.

        40.     During the proposed class period, CBHV sent letters the:same or similar to the

CBHV Letter to numerous New Jersey consumers in -anattempt to collect a debt.

        41.     It is CBI4V's policy and practice to unlawfully communicate and convey private

and sensitive information about consumers with third parties by using third party vendors to send

written collection communications in attempts to collect consumer debts.

        42.     Upon inforniation and .belief, CBHV publislied a list of debtors, includiiig

Plaintiff, that allegedly refuse to pay debts.



' 15 U.S.C. § 1692c(b).
z 15 U.S.C.. § 1692d(3).
3 See Hunstein v. Preferred.Collection & Mgmt. Servs., 994 F.3d 1341 (1 lth Cir. 2021)
(coiiiiiiunicating witli third party letter veiidor violated the FDCPA).

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                                      CLASS ACTION ALLEGATIONS

        43.     Pla.intiff brings this action iridividually and as a class action on behalf of all others

similarly situated pursuant to Rule 4:32 of the New Jersey Rules of.Court,.

        44.     Subject to discovery and further investigation which may require Plaintiff to modify

the following class definition at the time Plaintiff moves for class certification, Plaintiff seeks

certification of a class initially defned as follows:

                C.Iass~ All natural persons,residing in State ofNew.Lerseywhose
                information was disclosed by Defendant,,to a third party on or after
                June 11, 2015.,

                        FDCI'A Subclass: All natural persons residing in°the State
                        of New Jersey; to whom Defendant sent a collection letter;
                        which letter (a) was dated within one year prior to June 11,
                        2021; (b) was seeking to collect a consu'mer debt; and (c)
                        was sent using a third party letter vendor.

        45.     Plaintiff seeks to recover statutory damages; actual damages, and attorney's fees

and costs on behalf of herself and all class members under the claims asserted herein.

        46.     The Class for whose benefit this action is brought is so riumerous that joinder of

all members is impracticable.

        47.     '1'here are questions of law and .fact;common to the inembers of the Class that

predominate over questions affecting only individuals.

        48.     A class action is superior to other available metihods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. A class action will

cause an orderly and expeditious administration of the claims of the .Class and will foster

economies of time, effort"and expense by avoiding thousands of individual suits that will be

based on the same legal theories that can be resolved in a single proceeding.

        49.,    Plaintiffs claim 'is typicul of the claims of the members of the Class. They are a

member of the Class.


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        50.    The questions of law and%or fact common "to, the members of the Class

predominate over any questions affecting only individaal members.

        51.    Plaintiff does not have interests antagonistic to those of the Class.

        52.    The Class, of which Plaintiff is a member, are readily identifiable. The Defendant

has records of each account.

        53.    Plaintiff will fairly and adequately protect the interests of the Cla'ss, and have

retained competerit counsel experienced in the prosecution of consumet-r litigation. Proposed

Class Counsel have investigated and identified potential.claims in the action; have a great deal of

experience in handling class actions, other complex litigation, and claims of the type asserted in

this action.

        54.    The prosecution of separate actions by individual members of the Class would run

the risk of inconsistent or varying adjudications, which would establish incompatible standards

of conduct for the Defendant in, this. action or the prosecution of separate actions by individual

members of the class would create the risk that adjudications with respect to individual members

of the class would as a practical matter be dispositive ofthe:interests of`the other members not

parties to the adjudications or substantially impair or impede their ability to protect their

interests. Prosecutiori as a class action will eliminate the possibility of repetitious litigation.

        55.    Plaintiff does not anticipate any difficulty in the management of this litigation.

                                        FIRST COUNT
                DECLARATORY JUD.GIVIENT AND INJIJNCTIVE RELIEF FOR THE CLASS

        56.    Plaintiff r•epeats and realleges all prior allegations as if set forth at length:herein.

        57.    Defendant's proliibited disclosure of pi-ivate aud sensitive inforniation constitute

unfair and unconscionable commercial practices and otherwise violate the Consumer Fraud Act

("CFA") at N.J.S.A. 56:8-2 and the FDCPA at 15 U.S.C. § 1692 et secJ.




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       58.       Plaintiff s.uffered ascertainable loss from Defendant's CFA violations.

       59.       Plaintiff therefore has standing to seek injunctive and other equitable relief under

the CFA, at N.J.S.A. 56:8-19, and the FDCPA.

       60.       Moreover, under the Uniform Declaratory Judgments Law at N.J.S.A. 2A:16-53,

the Plaintiff and the putative Class members can seek declaratory relief.

       61.       The Defendant and its agents or others ac"ting on the.ir behalf should be enjoined

from any further action or failing to take actions that result in any -invasion of privacy, retain

benefits from its illegal acts by the use of protected private and financial information.

       WHEREFORE, as to Count One, Plaintiff, on behalf of herself and the putative class

members, hereby requests a Judgment against Defendant, joiritly and severally,

       a. Granting class certification for class-wide equitable relief.under R. 4:32-1(b)(2), and

             issuing a declaratoiy judgment applicable to the Plaintiff and putative Class and

             Subclass; pursuant to .the Uniform Declaratory Judgments Law at N.J.S.A. 2A:16-5:3,

             ruling that:

                            1. Defendant.violated the CFA.

                        .2. Defendant violated.the,FDCPA.

       b. Granting a permanent injunction against the Defendant; pursuant to the CFA;:at

             N.J.S.A. 56:8-19, and tlie FDCPA prohibiting them from the disclosure of consumer's

             information;

       c. Dii-ecting the Defendant to provide equitable notice relief pursuant to the CFA and

             FDCPA, providing for notice to Class members'of the declaratory and injunctive

             ruling..

       d. Awarding Plaintiff's counsel reasonable attorneys' fees and costs under the -CFA;

       e. For such other and further relief as the Court deems equ.itable and just.


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                                              SECOND COUNT
              DAMAGES UNDER THE CONSUMER FRAUD ACT'ON.BEHALF OF THE`CLASS

       62.      Plaintiff repeats and realleges all prior allegations as if set forth at length herein.

       63.      Defendant is a"person" within the meaning ofthe CFA at N.J:S.A. 56:8-1.

       64.      Plaintiff and those similarly situated obtained "merchatidise" within the meaning of

the CFA at N.J.S.A. 56:8-1.

       65.      Defendant engaged in unconscionable commercial practices, deception, fraud,

false promises, false pretenses and/or misrepresentations in connection with the sale of

merchandise in violation ofthe CFA at N.J.S.A. 56:8-2.

       66.      Defendant•engaged in uncoriscioriable commercial practices, deception, fraud,

false promises, false pretenses and/or misrepresentations in the subsequent performance of the

sale of inerchandise in violation of the CFA at N.J.S.A. 56:8-2.

       67.      Deferidant.committed unconscionable commercial practices, deception, fraud,

false promises, false pretenses and/or misrepresentations in direct violation of the CFA at

N.J.S.A. 56:8-2.

       68.      As a result of Defendant's unlawful actions, Plaintiff and the Class members

suffered ascertainable foss from Defend'ant's CFA violations, entitling them to treble damages

under the CFA, at N.J.S.A. 56:8-19.

       VVHEREFORE,         as to Count Two, Plaintiff, on behalf of herself and the putative Class

       members, hereby re_quests a Judgment against Defendant,

       a. Gxanting class certif cation of the Subclass under R. 4:32-1(b)(3);.

       b. Awardiug treble daniages urider the CFA, at,N.J.S.A. 56:8-19;

       c. Alternatively awarding a refund of all moneys collec.ted under the CFA, at N`.J.S.A.

             56:8=2.11;



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       d. Awarding, Plaintiff's counsel reasonable attorneys' fees an'd.costs under the C.FA, at

             N.J.S.A. 56:8-19;

       e. For pre judgment and post-judgmerit interest; and

       f     For such other and further relief as the Court deems equitable and just.

                                             THIRD COUNT
                                 NFC:I.iGFNCF ON RRHAi.F OF THF, CLASS

       69.       Plaintiff repeats and realleges all prior allegatioiis as if set forth at length herein.

       70.       Defendant owed the Plaintiff a duty to maintain the confidentiality of her private

and financial information.

       71.       Expert testimony is not required to establish that the disclosure of confidential and

protected information breaches a commonly, known duty owed by Defendant.

       72.       The disclosure of the confidential .arid protected information ofthe Plaintiff and

the Class damaged them by exposing their priv,ate information to persons who lacked any right

or entitlement to know their private information.

       73.       The Plaintiff and others have,suffered a compensable loss arising from the

disclosure of their protected private and financial information:

       74.      The Class has likewise suffered a compensabla loss arising from the disclosure of

their protected private and financial information.

       WHEREFORE, as to Count Three, Plaintiff, on behalf of herself and the putative Class

       members, hereby requests a Judgment against Defendant,

       a. Granting class certification of the Class under R. 4:32-1(b)(3);

       b. A uioney judginent for compensatory dainages based on' the Defenrlant's disclosure

             of the Plaintiff and Class' private information;

       c. For attorney's fees, litigation expenses and costs in connection with this action;



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         d. Fo'r pre judgment and post judgment interest; and

         e. For such other and further relief as the Court;:deems equi;tab'le and just.

                                             FUURTIi COUNT
                              INVASION OF PRIVACY ON BEHALF OF THE.CLASS

         75.        Plaintiff repeats and realleges all prior allegations as if set forth at lerigth herein.

         76.        Defendant invaded the privacy of Plaintiff by unreasonable publication of private

facts.

         77.        These private facts, Plaintiffls financial information; are actually private matters,

the dissem.ination of sucli facts would be offensive to a:reasonable person and there is no

legitimate interest of the public in being apprised of the facts publicized.

         78..       Expert testimony is not required to establish. that the disclosure of.confidential

financial information.invaded.a person's privacy.

         79.        By publishing the private financial information of the Plaintiff and the Class,

Defendant damaged them by exposiiig their private informatioii to persons who lacked any right

or entitlement to know their private financial information.

         80.        The Plaintiff and others have suffered a compensable loss arising from the

invasion of their privacy.

         81.        Tlie Class has likewise suffered a compensable. l'oss arising from the invasion of

their privacy.

         WHEREFORE, as to Count Four; Plaintiff, on behalf of herself and the putative Class

         members, hereby r.equests a Judgment against Defendant,

         a. Grantiiig class, cer.tiFcation of t}ie Class utidec' R. 4:32-1(b)(3);

         b. A money judgment for compensatory damages based on the Defendant's "invasion of

                the privacy of the Plaintiff and Class;



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        c. For attorney's fees, litigation expenses and costs in connection with this action;

        d. For pre judgment and post judgment interest; and

       e. For such other and furthe"r relief as the Court "deems equitable and just.

                                         COUNT FIVE
                FAI:R DEBT COLLECTION PRACTICES ACT FOR THE,FDCPA SUBCLASS

        82.     Plaintiff repeats and realleges all prior allegations as if set .forth at length herein.

        83.     Defendant is a"debt collector" within the meaning of 15 U.S.C. § 1692a(6).

        84.     The Debt is a".debt" within the meaning of 15 U.S.C. § 1692a(5).

       85.      Plaintiff is a"consumer" within the meaning of 15 U:S.C. § 1692a(3).

       86.      The 6/12/20 Letter is a"communication" as defined by .15 U.S.C. § 1692a(2).

       87.      Defendant sent the 6/12/20 Letter.in an attempt to collect a"debt" within the

meaning of 15 U.S.C. § I 692a(5).

       88.      Defendant violated the FDCPA including sections 1692c, 1692c(b), 1692d,

1692d(3), and 1692f of the FDCPA.

       89.      Based on;any one of those violations, Defendant is liable to Plaintiff and the Class

for statutory damages, attorney's fees and costs under 15 U.S.C..§ 1692k.

       WHEREFORE, as to Count Five, Plaintiff, on behalf of herself and the putative Class

members, hereby requests a Judgment against Defendant, Collection B'ureau of the Hudson

Valley, Inc.,

       a. An order, certifying that the Cause ofActionmay be maintained as a class,
          pursuant to R. 4:32 including defining the class, defning the class claims, and
          appointing Plaintiff as the class representative and the undersigned attorney as
          class counsel;

       b. An award of statutory damages for, Plaintiff pursuant to 15 U.S.C.
          § 1692k(a)(2)(A) and § 1692k(a)(2)(B)(i);

       c. An award of statutory damages for the Class purs,uant,to 15 U.S.C.
          § 1.692k(a)(2)(B)(ii);


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       d. Attorney's fees,.litigation expenses, and costs pursuant:to 15 U.S:C.
          § 1G92k(a)(B)(3); and

       e. For pre judgment and post judgment interest; and

       f. For such other and further relief as may be just and proper.

                                           JURY DEMAND

       Plaintiff demands a trial by jnry on all issues subject to trial 6y jury.

                                DESIGNATION OF TRIAL COUNSEL

       Pursuant to Rule 4;25-4, Yongmoon Kim is designa"ted as trial counsel for Plaintif£

                                          CERTIFICATION

       Pursuant to Rule 4:5-1; I hereby certify to the:best of m.y knowledge that the matter in

controversy is not the subject of anyaction pending in any court or.-the subject of a pend'ing

arb,itration proceeding, nor is any other action or arbitration proceeding contemplated. I further

certify that I know of no party who should be joined in this action at this time.

       I hereby certify that pursuant to Rule 1:38-7: All confidential identifiers of the parties to

this action have been redacted from all documents or pleadings submitted to the Court.


Dated: June 11, 2021                           KIM LAw.F1RM,LLC

                                               /s/ Yongmoon Kim
                                               Yongrnoon. Kim

                                              Attorneysfor Plaintiff




                                           Page 15 of 15
      Case 2:21-cv-13810-BRM-AME Document 1-1 Filed 07/19/21 Page 18 of 26 PageID: 21
ESSEX COUNTY -`CIVIL DIVISSON
SUPERIOR COURT OF NJ
465 MARTIN LUTHER KING JR BLVD
NEWARK           NJ 07102
                                             TRACK ASSIGNMENT NOTICE
COURT TELE'PHONE NO. (973) 776-9300
COURT HOURS 8:30 AM - 4:30 PM

                            DATE:   JUNE 11, 2021
                            RE:     WILLIAMS-HOPKINS. ROSA    VS COLLECTION BUREAU OF   T
                            DOCKET: ESX L -004624 21

      THE ABOVE CASE HAS BEEN ASSIGNED TO:   TRACK 4.

     DISCOVERY IS PRESUMPTIVELY 450 DAYS BUT MAY BE ENLARGED OR SHORTENED BY THE
JUDGE AND RUNS FROM THE FIRST ANSWER OR 90 DAYS FROM SERVICE ON THE FIRST
DEFENDANT, WHICHEVER COMES FIRST.
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE MANAGING JUDGE ASSIGNED IS:   HON KEITH-E. LYNOTT

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM      002
AT:   (973) 776-9300 EXT 5690'8.

      IF YOU BELIEVE THAT THE TRACK"IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON'ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                             AT.TENTION:
                                              ATT: YONGMOON KIM.
                                              KIM-LAW FIRM LLC
                                              411 HACKENSACK AVE STE 701
                                              HACKENSACK       NJ 07601

ECOURTS
 Case 2:21-cv-13810-BRM-AME Document 1-1 Filed 07/19/21 Page 19 of 26 PageID: 22




                             Civil Case Information Statement
                                   m                                              . . .. .                      ..
i: Cas®~Details   tS8EX j Civ_il Part Docket# L-004624-21
                           .....
Case Caption: WILLIAMS-HOPKINS ROSA VS                            Case Type: COMPLEX COMMERCIAL
COLLECTION BUREAU OF T                                            Document Type: Complaint with Jury Demand
Case Initiation Date: 06/19/2021                                  Jury Demand: ,YES - 6 JURORS
Attorney Name:.YONGMOON KIM                                       Is this a professlonal maipractice case? NO
Firm Name: KIM LAW FIRM LLC                                       Related cases pending: NO
Address: 411 HACKENSACK AVE STE 701                               If yes, list docket numbers:
HACKENSACK NJ 07601                                               Do you anticipate adding any:parties (arising out of same
Phone: 2012737117                                                 transaction or occurrence)T NO
Name of Party: PLAINTIFF : Williams-Hopkins, Rosa, M
Name of Defendant's Primary Insurance-Company                     Are sexual abuse claims alleged by: Rosa M Williams-Hopkins?
                                                                  IVO
(if known): Unknown


                      ..                                                                                                         ._ ---
      THE INFORIVIATION,PROVIDED ON TH1S FORM CAnNOT BE INTRODUCED INTQ
                                                                      ~.
                                                                         EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE F,OR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO

 If yes, is that refationship:
 Does the statute governing this case provide for payment of fees by the losing party? YES
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or acceierated disposition:




 Do you or your ciient need any disabiiity accommodations? NO
          If yes, piease identify-the requested accommodation:



 Will an interpreter be needed? NO
          If yes; for what.language:


 Please check•off each•appiicabie'category:,Putative Class Action? YES- Titie;:59? NO Consumer Fra'ud? YES
                                                                              _..—.~..... ...   ............_
                                                                                                                                                        _
                                       ,     .
                                                                   ..... t ..w.      ...                        .-.   ..   ...            .-..   . ..


 I certify that confidential personal identifiers have been redacted from documents noW submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 06/11/2021                                                                                                                /s/ YONGfUi00N KIM
 Dated                                                                                                                                 Signed
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The Fair Credit Reporting Act (FC:RA) protects a limited segment of financial privacy, by regulating consumer reporting
agcncies (CRAs) that.collcct credit infonnation about consumcrs, those who providc information to the CRAs, and thosc who
seek information from CRAs. Howeyer, many consumer financial transactions dofnot fall°within the FCRA, and other sources
of privacy law must be cxamined to see if thcy can protect personal financial data from those who seek to acquire"and exploit
it. Discussed below are some federal statutes, statc statutcs, coinmon law tort claiins, and identity theft laws that may serve to
shicld consumers' economic conduct.

As the world has gonc digital, consumers' records, both financial and otherwisc, are increasingly vulnerablc to exposurc.
Transactions that were once fleeting, recorded only on paper and filed in some cabinet, or perhaps reduced to microfiche, are
now but mouse-clicks away from duplication and disscmination.

Unregulated databases, escalating numbers of inergers, and the proliferation of information brolcers—private investigators who
specialize in obtaining computerized records=all threaten privacy. As was noted in Congress, "databases of personal
identifiable information arc increasingly prime targets of hackcrs; identity thieves; roguc employccs, and other criminals,
including orgariized•aqd sophisticated critiiinal operatio►is:'1

The internet raises particular privacy concerns, as informatinn sent over the VJorld Wide Web may pass through dozens of
clifferent computer systernv, each of whic:h can snat.ch and holri the infnrmatinn in its c:offers. Tn additinn, wehsite nwners c:an
track consumers' online behavior and gather information about their preferences, often without their knowledge. Web bugs, or
tiny grapliics that are put into web pages and e-mails, can monitor who views the inforuiation. Clickstream data cari tell
website owners which pages of the site were viewed and for how long. "Cookies" dropped onto a computer may not identify
the user by nanie but do identify the particular coniputer, which allows an 'interested party to assenible a great deal of
information about that computer's user.''

Financial. information is especially sensitive, able to reveal not just a consumer's standard of living and debt load, but also
personal preferences and lifestyle details ranging from books bought to prescriptions purchased. ln California Bankers Ass'n
v. Shtrltz,3 Justice Powell pointed out that "[flinancial transactions can reveal much about'a person's activities, association"s,
and beliefs," Justice Douglas,elaborated further;


       A checking account .,.rmlay well record a citizen's activities, opinion, and beliefs as full.y as transcripts of his
         lephone conversations ... In a sense a person is detined by the checks he writes. By examining them the agents get to
       know his doctors, lawyers, creditors, political allies, social connections, religious affiliation, educational interests, the
       papers and magazines he reads, and so on ad infinitum .4


The same can be said of credit card charges,•debit purchases, and, onlitte fransactions. Forty years later, the details of tliese:
revealing consumer activities arc easily collected, compiled, anaiyzed, and accessed, and tlius have created a lucrative niarket
for their trade. Otie industry leader among data aggregation companies, Acxioni, advertises that it has data on 2.5 Uillion
consumers.s Acxiom claints that one of its products covei•ing American consumers has data on 250 million consumers, offering
data not just on individual demographics, but also household characteristics, financial infortnation, life events, major
purchases, and behavior, all of which allows for targeted marketing ~ Experian reports that it manages data on more than 300
tnillion consumers and 126 million households,'- while Equifax claims a database of over 115 million U.S. households
distributed over 150 different segtnent groups, which can be used to predict behavior.g tn 2017, Eqtiifax suffered a data breach
that involved the personal data on nearly half the United States population being stolen, a breach that a Congressional
cornmittee found to have been "entirely preventable."2 In°2014, the Federal Trade Commission filed a complaint against
another data brokeithat allegedly, bought the payday loan applications of consuiners and.then sold the information to marketers
with no legitimate need for it, leading some scammers among them to debit millions from the consumers' accounts.~—o

Marketers are intensely interested in consumers' online and other behavior so they can pinpoint consutners for advertising.11
Businesses want to leam as much about consumers as possible;'' Furthermore, sinee the 9,'11 attacks, the federal government,
specifically the National Security Agency, has voraciously sought data about individuals both inside and outside the Uniied
States.-u Political groups seek out and aggregate information about consumers to assign them "persuasion scores" that purport
to tneasure how likely that consutner is to vote for or against a particular candidate.'' Even the mundane task of grocery
shopping is considered sufficiently informative that superrnarkets use "loyalty cards" to track every item purchased by every
cardholder, and they are fi•ee to sell that infortnation to anyone'who inight be interested. There is a near insatiable hunger to

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.   learn how consumers get and spend their money.

    Notwithstanding the sensitivity cmbcddod in a person's financial choices, they are, for the most part, fair gamc for trade.
    While federal law protectsagainSt disclosure of.video rental preferences,l` cable viewing preferences,-L~-' medical records,'—' and
    student records,1e it does not yet prevent financial or other institutions from selling their customers' Social Security numbers,
    account balances; inaturity datcs, securities holdings, oc other informatiori'to private entities.'~ Consequently, consuiners
    remain largely ignorant of the trafficking;in such personal information.

    In 2014, the FTC conducted an,in-dcpth study of ninc data brokcrs that collcct personal informatiomabout.consumcrs and thcn
    sell it for marketing and other purposes, and issued an extensive and o8en critical report'4 ln addition to describing the
    processes by which data brokers gather and.use consumer infomtation, the agency called for Congress to "consider enacting
    IeLrislat:inn that wnnld enahle cnnsurners tn learn nf the existence and ac:ti vit.ies nf datzj..hrnkrrs anr( prnvirie ennsurners with
    reasonable access to information about thetn held by these entities."'`—~ In effect, th'►s is a call for Congress to extend some of the
    basic rights provided by the FCRA to data that falls outside that act. However; there"could be downsides to such legislation to
    regttlate data brokers, such as preemption of stronger state laws and potential impainttent of tlt_e FCRA if brokers are covered
    under both that Act and the proposed law.

    Though the FCRA limits some disclosures"by •private parties of consumer"financial informatioq, it does not give consumers the
    right to prohibit a CRA-from disclosing accuratc; nonobsolete information to those dccmcd to have a permissible purpose '
    Furthermore, while snme data warehousers fall within the. definition of a CRA,23 others that .sell their records for reasons other
    than those included iri the definition of a CRA may evade the FCRA's restrictions.'"—'

    In addition, the Gramm-Leach-Bliley Act (the GLBA) gives consumers a.limited right to "opt out" of certain disclosures by
    financial institutions to nonaffiliated third.parties.'' However, its abundant exccptions arguably all but destroy the protection it
    purports to providc.

    American privacy law is poorly suited to protecting privacy, especially of computerized consumer information. Aside from the
    FCRA, privacy laws largcly fall t' nto three catcgories: laws protecting personal privacy from invasions by"governmcnts, federal.
    or local; the common law tort: of invacion of privacy; and statutes and case law that "proh.ihit private parties from obtaining'0' or
    disclosing'"' specific types of. information. Relevant provisions.of the GLBA'"1 will,be, described in this last category;=9 they`
    impose certain notice requirements on financial institutions who disclose financial.data and a limited right for consumers to opt
    out of some kinds of disclosures.




    Footnotes
      1{1} Personal Data Privacy and Security Act of 200:5,. S. 1332, 1.09th.Cong, (.lune 29". 2005).



      2 {2} .See www.epic.org/ptivacy7intemet/cookies [l].



      3 {3} 416 U.S. 21 (1974).



      4{4} Id. at 85, 90 (Douglas, J., dissenting).


      5 Acxiom Data: [Jnparalleled r,lohal Consumer Insiohts [2] 2, availahle at https://hvww.acxiom.com.


      6 Acxiotn Data: Unparalleled Glbbal Constuner. Insights [2]3-4; avuilirble u! httpsaiwww.ticxiom.com.


      7{7} Fxperian, Experian Marketinp Services: Cnnsumer View [3], availahle athftps://ww•w_experian.com.


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  8{8} Equifax, Compiled Data [4], available at www:equifax.com• 1n 2017, Equifax had credit information on 820 million
      consumers. U.S. Housc ofReprescntatives, Committcc on Ovcrsight and Govcrnmcnt Reform Niajority Staff Report,
     The Equifax Data Breach [5] 15 (Dec. 2018), available at https:i/republicans-oversighthouse.gov.


  9 U.S. House of Representatives, Committce on Oversight and Government Reform Majority StaffReport, The Equifax
      Data Breach [5] 2(Dec. 2018), available al https:/irepublicans-oversight.house.gov.


   ]0 { 10} Fed. Tradc Comm'n, FTC Chargcs Data Broker with Facilitafine the Theft of Millions of Dollars from Consumers'
        Accounts (Dec. 23, 2014) [6], available cit www.ftc.gov.


  11 { 11 } See Frank Pasquale, TITe Dark Afarket for Persoaral Data, N.Y. Times, Oct. 16,' 2014.


  12 {12} See, e.g., Stephanie Clifford and Quentin Hardy, Atterilion, Shoppers: Store Is Tracking 1'oar Cell, N.Y. Times, July
       14, 2013; Your Privacy for Sale, Consumer Rep. (Oct. 2006).


  13 {13} See James Risen and Laura Poitras, N.S.A. Gathers Data on S.ocial Connections of U.S. Citizens, N.Y. Times, Sept.
      28. 2013 [7], available at www.nytinies.com (describing the practices of NSA in analyzing phone call and e-inail logs,
      along with material from "public, commercial and other sources, including bank,codes, insurance information,
       Facebook profiles, passenger manifests, voter registration rolls and GPS location information," for both foreigners and
        Americans alikc).



  14 {14} For instance, imthe 2016 election the data analytics company Cambridge Analy tica claimed to have developed
       "psychographic" profiles on potential voters that the Trump campaign could exploit to grow its voter base. See
       Nicholas Confessore and Danny Hakim, Data Firnr Say.s "Secret Sauce" Aided Trun:p; dlany Scoff, N.Y. Tiines, Mar.
       6, 2017, at A 1. See. also_Jim Rutenberg, Data You Can Believe In: The Obanta Campaign 's Digital /blasterminds Cash
       In. N.Y. Times Magazine, June 20,.2013. One data-ttiihing company that specializes in voter infonnation, Aristotle,
       Inc., advertises that it maintains a"`massive and ever-expanding database [that] includes over 190 million U.S. voters"
       and that it can "microtat•get[]" individuals based on their "interests and hobbies,".along with "political district, political
       party affiliation, super-votcrs, gcndcr, cthnicity, maritnl status, wcalth, cducational lcvcl and prescnce of children."
       http://aristotle.com/political-data [8].


  15 115} Video Privacy Protection Act of 1988, 18 U:S.C. § 2710.

  Several states have similar acts, some of which extend beyond prohibiting merely the disclosure of video rental records to
      the disclosure ofthe purchase or rental ofany written materials. See, e.g., Mich. Comp. Laws § 445.1712 (known as
      both vlichigan's Preservation of Privacy Act and the Video Rental Privacy Act) (prohibiting, with exceptions anyone
      who is "engaged in the business-of selling at retail .,. written materials" from disclosinginformation about the
      transaction in a way that "indicates the identity of the customer"). See also Coulter-Owens Y. Rodale, Inc., 2015 WL
      575004, at *4 (E.D. Mich. Feb. 11, 2015) (denying dismissal of claim under state video rental privacy act arising from
      the alleged sale by the defendant, a magazine publisher, of subscribers' infortvation to data-mining companies). The
      Sixth Circuit recently limited the-reach of Michigan's act by concluding that a magazine publisher that used
      independent third parties to sell subscriptions could not be liable to a customer who had bought a subscription to its
      publication because the publisher was therefore not "in the business of selling at-retail." Coulter-Owens v. Time Tnc.,
      695 Fed. Appx. 117, 123-124 (6th Cir. 2017).


  16 (16) Cable Communications Policy Act of 1984,47 U.S.C. § 551(c). Note that the USA PATRIOT Act expanded the list
       of disclosures perrnitted by the Gable Communications Policy Act by adding certain disclosures made to specitied
       government authorities• Pub. L. Vo. 107-56, § 211 (Oct. 26; 2001), amending47 U.S.C. § 551(c).



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       17 {17} Most health insurers and providers musE comply with the Privacy,Rulc promulgated pursuant to thc Health
       Insurance Pot-tability and.Accountability Act (HIPAA). 45 C.F,R. §§ 160.101 to 160.312, §§ 164.102 to 164.534. The
       HIPAA Privacy Rulc gencrally prohibits covercd cntitics fi•om usingor disclosing protccted hcalth information cxcept
       as specifically allowed. Among the permitted disclosures are those to CRAs for purposes of:payment, so .long as the.
       disclosure is limited to the following information: name and address, date of birth, Social Security nurnber, payment
       history, account nutnber, and nameand a8dress of.the health care provider. 45 C.F.R: §§ 164.501, 164.506(c)(1). In
       2009, Congress expanded.the categories'ofthose'subject to HIPAA's anti-disclosure.requirements in.the Health
       Information Technology for Economic and Clinical Health Act (the HITECH Act). Pub. L. No. 111-5, 123 Stat: 115
       (Fcb. 7, 2009) (codified in scattered scctions of titics 26 and 42 of the United States Codc). See also 45 C.F.R. §
       160.103 (containing an expan.ded definition of the "business associates" who are subject to the ahti-disclosure
       provisions). For a discussion of the HIPAA Privacy Rule, see National Consumer Law Center, Collection Actions §
       9.3.4 [9] (4th ed. 2017), ztpda►ed at www.ncic.org/library. See § 5.,4 []0], supra, for a discussion of the FCRA's
       restrictions on rnedical information.


  18 {18} Family Educational Rights & Privacy Act of 1974, 20 U.S.C. § 1232g.,


  19 {19} Federal law prohibits firins and persons who reQularly prepare income tax'returns for others from disclosing
       personal tax inionnation or using it for other purposes, With a few exceptions. 26 U.S.C. § 7216. The Privacy Act oP
       1974, 5 U.S.C. § 552a, requires all government agencies, whether.federal, state, or local, that request Social 5ecurity
       numbers to provide a disclosure statement that explains whether the consumer is required to provide the number, how it
       will be used, and under what stattttory authority the agency is requesting the number. The Act provides that a consumer
       cannot be denied a benefit for refusing to provide the number ttnless the nttmber is required by federal law (or the
       disclosure is to an ,agency that had been.using Social SecuTity numbers prior to enactment of the Privacy Act)'.
       Although usually a consumor is not compcllcd to disclosc her Social Security number to a privatc busincss, no fcdoral
       law prohibits thetn from,asking for it-orfrom refusing to do business with a consumer who refuses to provide it.


  20 1;20} Fed. Trade Comin'n, Data Brokers: A Call for Transparencv and Accountability, at i(May 2014) [l 11„available at
       www.ftc.gov,


  21 1211 Id at vii. The FTC noted these speci6c concerns: "Data brokers acqttire a vast an•ay of detailed and specific
       information about consumers; analyze it to make inferences about consumers, some of which may be considered
       sensitive; and share the information with clients in a range of industries. A11 of'this.ac/fvity takes placc behind tlre
      scenes, ivithozrt consitmers' lcnotivledge." Id. (etnphasis added).


  22 {22} "I'he Act additionally imposes some restrictions on users of consutner reports and imposes obligations on those that
       furnish informtttion to CR7Ys to provide accurate information. See Chs. 6[12] and_7 [13], szepra: Soine state laws give
       consumers the right to deny access to, or to "freeze," their,consumer reports..See § ~9.4.1. [14], supra, and Appx. H [151 ,
       infra.                            .


  23 (23)   Sce ~ 2.7.5 [16], stipra.


  24 (24} U.S. Gov't Accountability Office,'GA0-06-674, Report to the Committee on Banking, Housing and UrbamAffairs,
       U.S. Senate: Personal lnformation: Key Federal Privacy Laws Do Not Require lnformation Resellers to Safeguard AII
       Sensitive Data (June.2006): See generallyCh. 2[17], supra (discussing what constitutes a"consumer report" and
       "consumer.reporting agency").


  25 {25} See & l 8.4.1 [18], infra.



   26 {26} For example, tlirough wiretapping. See, e.g., 18 U.S.C. § 2510; Cal. Penal Code §§ 631 to 637; Conn. Gen. Stat.
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      27 {27} For examplc, the disclosurc of customcrs' video recording rentals. See, e.g., Cal. Civ. Codc § 1799.3 (West); Conn.
           Gen. Stat. Ann. § 53-450; [owa Code Ann. § 727.11.


      28 {28} 15 U.S.C. §§ 6801 tb 6810.


      29 {29,} See .§ 1 8:4.1.[18], znfr.a..




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    [5]https://republicans-oversight.house.gov(wp,contentr:uploads/2018/12/Equifax-Report.pdf
    [6]https://www.ftc.gov/news-events/press-releases%2014/12/ftc-charges-data-broker-facilitating-theft-millions-dollars
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                                                                                 COLLECTION BUREAU OF THE HUDSON VALLEY, INC.
                                      ~
                                                                                           CBHV Reference #:                      Balance Due:
                                                                                              Redacted                              Redacted

    DATE: 06/12/20

                                                                                  P.lease write youur CBHV Reference # on your check.
    Change of Address El
    (fill out on reverse side)                                                       ®             Please sand correspondence to this address. ~•
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     ROSA WILLIAMSHOPK                                                               CBHV
                                                        REDACTEU
     Redacted                                                                        PQ:BO7C 831
     Redacted                                                                        NEWBURGH NY 12651-0831




                                              A                    DETACH HERE                       A

Dear ROSA WILLIAMSHOPK:
This past due account has been placed for collection.
Unless you notify this office within 30 days after receivirtg this notice that you dispute the validity of this debt, or
any portion thereof, this office will assume this debt is valid. If you riotify this office in writing within 30 days
from receiving this notice that you dispute the validity of this debt, or any portion thereof, this office will, obtain
verification of the debt or obtain a copy of a judgment and mail you a copy of such judgment or verification. If
you request of this office in writing within 30 days after teceiving this notice this office will provide you with the
name and address of the orlglnal creditor, lf different from the current creditor.
                                  Please see reverse side for important information.
                                                  Account                       CBHV                      Transaction                     Balance
             Greditor
                                                  Number                      Reference #                      Date                           Due
           Redacted                           Redacted                        Redacted                     REDACTED                       Redacted



                                                                                                                                           REDACTED
                  To make a payment by phone,                                              To make a secure payment
                  please call MR STEVVART at                                                   online, please visit
                (888) 913-7489 or (860) 269-8035.             -' v                www.cbhv.com/make-online-payment




             Collection Bureau of the Hudson Yalley, Inc: - Address and Office Hours (Eastern Time):
                           PO Box 831 • 155 North Plank Road • Newburgh, NY 12550
      Monday through Thursday: 8:30 AM, - 9:00 PM • Friday: 8:30 AM -- 5:00 PM - Saturda : 8:30 AM - 12:30 PM
                                 on                 1 88 •( 0} 4                 3     •      :     45) 13 40
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Your namir:                                                  Hoi-ne Phone
Street:          _.._    ~_—                                 Business Phone_
City:.-_.--------                      __ _—__.. __------ StateM__.—~-_.Zip~__
Employer

Metliod of Payment (check one)                             Insurance Co.
Check Enclosed                                             Address_._—_—___
MasterCard                                                 Group ##         -_ .             ID#____
Acct # _ ---------------                                   Effect"ive Date:
Expiration Date:                                           Subscriber:
Charge Amount;,                                            Subscriber SS#:___

Signature ----____._._—_____           _




                                        Thero is a$20 00 fee for r.eturned checks.

          THIS iS AN ATTEMPT TO COLLECT A. DEBT BY A DEBT COLLECTOR AND ANY INFORMATION
                                  OBTAINE® WILL BE USED FOR THAT PURPOSE.




                              rEXHIBIT BI
